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                                      EXHIBIT 10
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Bart Larsen

From:               Simon Clark <s.h.clark@me.com>
Sent:               Thursday, February 14, 2019 6:35 PM
To:                 Dr. Oliver Hemmers
Cc:                 Daniel Peterson; Pantelas Anne; Dobozy Endre S; Griffin Mike
Subject:            Re: Comments on Lon Agreement and Note.

Follow Up Flag:     Follow up
Flag Status:        Flagged


Mightitbepossibletounderstandwhythiswasnotbroughtupbefore?

SimonH.Clark
President
HedgeActInternationalLtd.

805Ͳ722Ͳ8599






OnFeb14,2019,at18:32,Dr.OliverHemmers<oliver@infinitycapital.com>wrote:

       Neitherispossible.Thestructureisinplaceandconnectbechanged.Repayingtheloanmightnotbean
       option,eitherandwedefinitelycannotwaitforfundinguntilthisissortedout.
       
       From:SimonClark<s.h.clark@me.com>
       Sent:Thursday,February14,20196:26PM
       To:Dr.OliverHemmers<oliver@infinitycapital.com>
       Cc:DanielPeterson<DPeterson@polsinelli.com>;PantelasAnne<anne@infinitycapital.com>;Dobozy
       EndreS<endre@ftmͲinvestments.com>;GriffinMike<mike@hedgeact.com>
       Subject:Re:CommentsonLonAgreementandNote.
       
       Well,inmyview,we’llhavetoaddressthisinoneoftwoways;eitherthatUCCwillhavetobetiedtoa
       specificpoolofassetsandsubordinatedtoours,ortheloanwillneedtoberepaid.
       
       Aswedonothavetangiblesecurityonspecificlienpositions,andtheUCCwasinlieuofsameas
       perfectingwasnotpossible,weshallneedtobeinfirstposition.Itmightbepossibletoquantifythe
       loan,however,therepsandwarrantiesinourloanagreement,whichyouallsignedearlier,clearlystates
       thatallassetsare,oraretobeunencumbered.
       
       Let’sleavethistotheattorneystosortout.
       
       WecanstillexecutedocumentsandbegintosocializethePPM,butthismatterneedstoberesolved
       beforeanydrawscanbesanctioned.
       
       Allthebest.
                                                           1
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SimonH.Clark
President
HedgeActInternationalLtd.

805Ͳ722Ͳ8599






OnFeb14,2019,at18:13,Dr.OliverHemmers<oliver@infinitycapital.com>wrote:

       WelookedintotheseandwecontactedourattorneyBrookeaboutthose,aswell.It
       lookslike2ofthe3shouldgetreleased.Onthethirdonewehavealoanthatissecured
       withreceivables–similartowhatwewanttodowithHedgeAct–andtheloanisnot
       repaid,yet.
       
       From:DanielPeterson<DPeterson@Polsinelli.com>
       Sent:Thursday,February14,20193:51PM
       To:oliver@infinitycapital.com;'SimonClark'<s.h.clark@me.com>;'PantelasAnne'
       <anne@infinitycapital.com>;'DobozyEndreS'<endre@ftmͲinvestments.com>
       Cc:'GriffinMike'<mike@hedgeact.com>
       Subject:RE:CommentsonLonAgreementandNote.
       
       ItappearsthattherearethreeexistingUCCliensfiledforInfinityalready.Canyouget
       theseremoved?
       
       DanielPeterson
       Shareholder
       dpeterson@polsinelli.com
       314.622.6130
       100S.FourthStreet,Suite1000
       St.Louis,MO63102
       polsinelli.com
       
       
       PolsinelliPC,PolsinelliLLPinCalifornia
       
       
       
       ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
       From:oliver@infinitycapital.com[mailto:oliver@infinitycapital.com]
       Sent:Monday,February11,201911:49PM
       To:'SimonClark';'PantelasAnne';'DobozyEndreS'
       Cc:'GriffinMike';DanielPeterson
       Subject:RE:CommentsonLonAgreementandNote.
       
       DearSimon,
       
       Thankyouverymuchforyourcommentsandweagreethattimeisoftheessence.
       Pleasefindourcommentsbelowandmaybethiswillsuffice.
                                                     2
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
1.No,thisisnotanoversight;aslenders,wedoreservetherighttowithholdsanction
ofadvanceshouldthebe“matterspertinent”thatneedtobeaddressed.Whilstthisisa
committedfacility,eachdrawrequestwillbeevaluatedonitsownmeritbasedon
informationreceivedregardingthescheduleofreceivables,requisitecoverageratio,
anddetailasdiscussedlastweek.

OK,wecanleavethisasis.

2.AswediscussedinHenderson,wewouldexpecttheexpensestobeintheregionof
$5,000,however,shouldtherebeextraneousissues(suchasaneedtoobtainspecific
regulatoryexceptionsforSubͲadviserseedmonies,therecouldbeanincrementalcost:
wewouldthereforesuggestthatwesetaceilingat$10,000.

Yes,wediscussedthisamountbutanumberinwritingwouldbeappreciatedfor
obviousreasons.$10kasaceilingwouldwork.

3.Itisstandardlendingpracticetorequirealegalopinionofsuch,weareamenableto
waivingthepreͲrequisite.

Brookewassimplyaskingfortheformatthatyouexpectthatopinionin.Sheishappyto
getthisdone.

4.Thisisstandardlendingterminology,andaswouldbeholdersofsenior,secureddebt,
wewouldlooktokeepthis.

OK,wecankeepthisasis.

5.Asseniorsecureddebtholdersand,aswehavebeentold,solelenderstothefirm
(outsidethosepromissoryobligationstoFTM...forwhichwewouldappreciatedetail)
wewouldexpectthattherearenootherdirectliabilities,ornonͲdisclosedcontingent
liabilities.Perhapsitwouldbeprudentifyoucompletedafullfinancialstatement
detailinganyandallheretoforeundiscloseddebtobligationsorcontingentliabilities,
thiswouldthenletusgobackandreviewwhethertoaffordacarveͲoutwithspecific
identificationofsame.

Agree,thismightbemootsinceinthelongrunHedgeActwouldbetheonlyentity
holdinganyreceivables.WewerenotsurewhatEndrediscussedoragreedupon
regardingFTM.WhenEndrethinksthisisokweare,too.

6.Perhapsyouwouldprovideus(Dan)withexceptionlanguageyoumightwishto
include.

Infinity'srecentexpansionbroughtusintoTexas,Illinois,GAandsomeotherstates.We
thoughtthisistheintentionforInfinitytogrowandexpandintoothermarkets,why
wouldtherebeaclausetolimitthat?Honestly,wedonotunderstandthepointof
havingthisinthecontract.

7.Myapologies,butwereallydon’tunderstandthis.Inordertomakeanyadvance,you
willneedtoclearlydemonstrateanet(columnaradditions/subtractionsdiscussedlast
week..ergothepayingofcommissionstotheinjurycenter)200%deminimuscoverage
ratio.

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
Is200%oftheportfolioratioperdraw?Ifyes,thenitisokbutifitisontheper
individualbill/invoicethenthiswouldnotworkverywell.

TheNote.

Itisnormalbusinesspracticethatshouldtherebeadefault,forwhateverreason,under
aseparateborrowingarrangement,thenthatwouldbeaneventofdefaultunderany
corollarynote.Asstatedabove,weweretoldbythesubͲadviserthatthisis,andwould
be,theonlyloanfacilityextantagainsttheflowofreceivables,hencethisiseithera
mootpointorwehavetoreͲevaluatetheunderwritingbasedonactualorcontingent
liabilitiesyettobedisclosed.

Thismightbeamootpoint,againjustthinkingofFTMsomaybeEndrehassome
concernsandhemightbeabletoprovideinput.

Thankyousomuchforthefastturnaroundandcomments.Hopefully,wecangetthis
goingtomorrow(Tuesday).

KindRegards,

AnneandOliver









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Bart Larsen

From:                Simon Clark <s.h.clark@me.com>
Sent:                Friday, February 15, 2019 6:28 PM
To:                  Pantelas Anne
Cc:                  Griffin Mike; Dobozy Endre S; Hemmers Dr.Oliver
Subject:             Follow up discussions.



GoodeveningAnne,Ihopeyouandyourfamilyhavesomefunplansforthethreedayweekend.

Whilstwehavenotspokentoday,IhavehadseveralcallswithEndre,andalsodiscussedmatterswithMike,andI
believeweare“caughtup”.

Iwouldliketoaffirmthatwearekeentomakethispartnershipwork,recognizingthatwehavehadafewbumpsinthe
road,butwehopethatthesepotholesarenotinsurmountable.

ThankyouforagreeingtoamendsomeofthestrategicmattersthatI,MikeandEndrediscussedthismorning.Wehad
notintendedthatthedocumentcompletionandloantermsshouldtakeaslongasithas,however,theongoingchanges
incollateralanddebtservice/securityfilingshasprolongedtheprocess.

Ibelievethatwehaveboiledthemattersatissuedowntotwopoints:firstlytheevaluationandamendmentoftheUCC
filingwiththefirminGeorgia;myunderstandingistheBrookehasthisinhand.Ourcounselstandsreadytocraftan
interͲcreditoragreementoncewehavequantifiedtheUCCnumber.

Secondly,Iunderstandthattherearesomeissuesthatcouldprohibitgrowthofbothyourenterpriseandthefund
relatingto“wetsignatures”onliens.Hereismythinking;let’saddresstheUCCmatterassoonasweareable;
concurrentlyIbelieve,andhope,thatwecanfindaworkablesolutionformedicalcardswhichwouldbeafastreturn,
growthengine;Debbiewillbeimmenselyhelpfulinthismatter.

EndrehasalsoapprisedmeoftheendofFebruarycashneeds,weshouldbeabletoaddressthismatter,andresolve
same.

WeshallallbeavailableonMonday,wedonot“take”theseHolidays,however,itmaywellbethattheGeorgiafirm
does.

Speaksoon.

SimonH.Clark
President,HedgeActInternationalLtd.
HedgeAct.

8057228599


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